                                Case 22-13983-PDR                     Doc 23          Filed 06/11/22              Page 1 of 2
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-13983-PDR
Annetta McCalla                                                                                                        Chapter 13
Curtis McNeal
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 09, 2022                                               Form ID: pdf004                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 11, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Annetta McCalla, Curtis McNeal, 1251 NW 51 Ave, Lauderhill, FL 33313-6542

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 11, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 9, 2022 at the address(es) listed below:
Name                               Email Address
Keith S Labell
                                   on behalf of Creditor Nationstar Mortgage LLC D/B/A Mr. Cooper klabell@raslg.com klabell@raslg.com

Office of the US Trustee
                                   USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                   ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 3
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         ORDERED in the Southern District of Florida on June 8, 2022.



                                                              Peter D. Russin, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________
                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

         In re:
                                                              Case No. 22-13983-PDR
         Annetta McCalla and
         Curtis McNeal,
                                                              Chapter 13
                  Debtors.
                                                    /

                          ORDER GRANTING MOTION TO EXTEND TIME
                              TO FILE REQUIRED INFORMATION

                  The pro se Debtors’ required documents were due on June 3, 2022. (Doc. 7). On

         June 6, 2022, the Debtors filed some documents and requested an extension of time

         to file any remaining required documents. Accordingly, the Court ORDERS that the

         Motion (Doc. 17) is GRANTED. The documents filed on June 6, 2022, are deemed

         timely filed, and the deadline to file any remaining required but unfiled documents

         is extended to June 15, 2022.

                                                        ###

                                        Copies to all parties in interest.
